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               EXHIBIT A
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       3:23cv1087, Guitang V. Talcott Resolution Life Insurance Company
                                                    US District Court Docket
                                           United States District Court, Connecticut
                                                           (New Haven)
                                           This case was retrieved on 10/06/2023

Header


Case Number: 3:23cv1087                                                                                Class Code: Open
Date Filed: 08/15/2023                                                                                   Statute: 28:1332
Assigned To: Judge Stefan R. Underhill                                                            Jury Demand: Plaintiff
Referred To: Judge Maria E. Garcia                                                                  Demand Amount: $0
Nature of Suit: Personal Injury (360)                                                     NOS Description: Personal Injury
Cause: Diversity-(Citizenship)
Lead Docket: None
Other Docket: None
Jurisdiction: Diversity




Participants

Litigants                                                        Attorneys
Lee Guitang                                                      David Lietz
on behalf of himself and all others similarly situated |         LEAD ATTORNEY;ATTORNEY TO BE NOTICED
Plaintiff                                                        Milberg Coleman Bryson Phillips Grossman, PLLC
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                                                                 USA
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                                                                 USA
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                                                                 Ethan Samuel Binder
                                                                 ATTORNEY TO BE NOTICED
                                                                 Scott&Scott Attorneys at Law LLP
                                                                 The Helmsley Building 230 Park Avenue 17th Floor
               Case MDL No. 3083 Document 319-3 Filed 10/06/23 Page 3 of 60
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Litigants                                                     Attorneys
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                                                              USA
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                                                              Scott.Com
Talcott Resolution Life Insurance Company                     Meghana D. Shah
Defendant                                                     ATTORNEY TO BE NOTICED
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                                                              New York, NY 10036
                                                              USA
                                                              212-389-5000 Email:Meghanashah@eversheds-
                                                              Sutherland.Com


Proceedings

#        Date               Proceeding Text                                                       Source
1        08/15/2023         COMPLAINT against Talcott Resolution Life Insurance Company
                            ( Filing fee $402 receipt number ACTDC-7450337.), filed by Lee
                            Guitang. (Attachments: # 1 Civil Cover Sheet)(Guglielmo, Joseph)
                            (Entered: 08/15/2023)
         08/15/2023         Request for Clerk to issue summons as to Talcott Resolution Life
                            Insurance Company. (Guglielmo, Joseph) (Entered: 08/15/2023)
2        08/15/2023         Disclosure Statement as per Rule 7.1(a)(2) by Lee Guitang.
                            (Guglielmo, Joseph) (Entered: 08/15/2023)
3        08/15/2023         Notice: Pursuant to Federal Rule of Civil Procedure 7.1, a
                            disclosure statement must be filed with a party's first appearance,
                            pleading, petition, motion, response, or other request addressed
                            to the Court and must be supplemented if any required information
                            changes during the case. Signed by Clerk on
                            8/15/2023.(Anastasio, F.) (Entered: 08/16/2023)
         08/15/2023         Judge Stefan R. Underhill and Judge Maria E. Garcia added.
                            (Freberg, B) (Entered: 08/16/2023)
5        08/15/2023         Order on Pretrial Deadlines: Amended Pleadings due by
                            10/14/2023, Discovery due by 2/14/2024, Dispositive Motions due
                            by 3/20/2024. Signed by Clerk on 8/15/2023.(Imbriani, Susan)
                            (Entered: 08/17/2023)
6        08/15/2023         ELECTRONIC FILING ORDER FOR COUNSEL - PLEASE
                            ENSURE COMPLIANCE WITH COURTESY COPY
                            REQUIREMENTS IN THIS ORDER Signed by Judge Stefan R.
                            Underhill on 8/15/2023.(Imbriani, Susan) (Entered: 08/17/2023)
7        08/15/2023         STANDING PROTECTIVE ORDER Signed by Judge Stefan R.
                            Underhill on 8/15/2023.(Imbriani, Susan) (Entered: 08/17/2023)
4        08/16/2023         MOTION for Attorney(s) David K. Lietz to be Admitted Pro Hac
                            Vice (paid $200 PHV fee; receipt number ACTDC-7451150) by
                            Lee Guitang. (Guglielmo, Joseph) (Entered: 08/16/2023)
8        08/17/2023         NOTICE TO COUNSEL/SELF-REPRESENTED PARTIES :
                            Counsel or self-represented parties initiating or removing this
                            action are responsible for serving all parties with attached
                            documents and copies of 2 Disclosure Statement filed by Lee
                            Guitang, 5 Order on Pretrial Deadlines, 7 Standing Protective
                            Order, 3 Notice re: Disclosure Statement, 6 Electronic Filing
                            Order, 1 Complaint filed by Lee Guitang Signed by Clerk on
                            8/17/2023.(Imbriani, Susan) (Entered: 08/17/2023)
9        08/17/2023         ELECTRONIC SUMMONS ISSUED in accordance with Fed. R.
                            Civ. P. 4 and LR 4 as to *Talcott Resolution Life Insurance
                            Company* with answer to complaint due within *21* days.
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 #         Date                Proceeding Text                                                    Source
                               Attorney *Joseph P. Guglielmo* *Scott+Scott, Attorneys at Law,
                               LLP* *The Helmsley Building, 230 Park Avenue, 17th Floor* *New
                               York, NY 10169*. (Imbriani, Susan) (Entered: 08/17/2023)
 10        08/17/2023          ORDER granting 4 Motion to Appear Pro Hac Vice for attorney
                               David K. Lietz. Signed by Clerk on 8/17/2023. (Imbriani, Susan)
                               (Entered: 08/17/2023)
 11        08/17/2023          MOTION for Attorney(s) Ethan S. Binder to be Admitted Pro Hac
                               Vice (paid $200 PHV fee; receipt number ACTDC-7452461) by
                               Lee Guitang. (Guglielmo, Joseph) (Entered: 08/17/2023)
 12        08/17/2023          NOTICE of Appearance by Anja Rusi on behalf of Lee Guitang
                               (Rusi, Anja) (Entered: 08/17/2023)
 13        08/17/2023          NOTICE of Appearance by David Lietz on behalf of Lee Guitang
                               (Lietz, David) (Entered: 08/17/2023)
 14        08/18/2023          ORDER granting 11 Motion to Appear Pro Hac Vice for attorney
                               Ethan S. Binder. Certificate of Good Standing due by 10/17/2023.
                               Signed by Clerk on 8/18/2023. (Imbriani, Susan) (Entered:
                               08/18/2023)
 15        08/21/2023          WAIVER OF SERVICE Returned Executed as to Talcott
                               Resolution Life Insurance Company waiver sent on 8/18/2023,
                               answer due 10/17/2023 filed by Lee Guitang. (Guglielmo, Joseph)
                               (Entered: 08/21/2023)
 16        08/21/2023          NOTICE of Appearance by Ethan Samuel Binder on behalf of Lee
                               Guitang (Binder, Ethan) (Entered: 08/21/2023)
 17        08/21/2023          CERTIFICATE OF GOOD STANDING re 11 MOTION for
                               Attorney(s) Ethan S. Binder to be Admitted Pro Hac Vice (paid
                               $200 PHV fee; receipt number ACTDC-7452461) by Lee Guitang.
                               (Binder, Ethan) (Entered: 08/21/2023)
 18        10/03/2023          NOTICE of Appearance by Meghana D. Shah on behalf of Talcott
                               Resolution Life Insurance Company (Shah, Meghana) (Entered:
                               10/03/2023)
           10/04/2023          Set Deadlines/Hearings: Rule 26 Meeting Report due by
                               11/16/2023 (Markowitz, C.) (Entered: 10/04/2023)

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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


     LEE GUITANG, on behalf of himself and all              Case No. __________
     others similarly situated,

                                     Plaintiff,
                                                            CLASS ACTION COMPLAINT
                 v.
                                                            DEMAND FOR JURY TRIAL
     TALCOTT RESOLUTION LIFE INSURANCE
     COMPANY,

                                     Defendant.
                                                            August 15, 2023

                                    CLASS ACTION COMPLAINT

          Plaintiff Lee Guitang (“Plaintiff”) individually and on behalf of all similarly situated

persons, alleges the following against Talcott Resolution Life Insurance Company (“Talcott” or

“Defendant”) based upon personal knowledge with respect to himself and on information and belief

derived from, among other things, investigation by his counsel and review of public documents, as

to all other matters:

I.       INTRODUCTION

          1.       Plaintiff brings this class action against Talcott for its failure to properly secure and

safeguard Plaintiff’s and other similarly situated Talcott customers’ sensitive information,

including full names, dates of birth, Social Security numbers, contract numbers, and zip codes

(“personally identifiable information” or “PII”).

          2.       Defendant is a “life insurance and annuity company and solutions-provider that

oversees and administers approximately one million contracts and $92 billion in assets[.]”1


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          TALCOTT RESOLUTION LIFE INSURANCE COMPANY, https://www.talcottresolution.com/ (last visited Aug. 11,
2023).
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         3.        Upon information and belief, former and current Defendant customers are required

to entrust Defendant with sensitive, non-public PII, without which Defendant could not perform

its regular business activities, in order to obtain insurance and/or other services from Defendant.

Defendant retains this information for at many years and even after the consumer relationship has

ended.

         4.        By obtaining, collecting, using, and deriving a benefit from the PII of Plaintiff and

Class Members, Defendant assumed legal and equitable duties to those individuals to protect and

safeguard that information from unauthorized access and intrusion.

         5.        On or about May 31, 2023, Defendant learned that one its IT vendor’s networks

(Pension Benefit Information, LLC or “PBI”) had been penetrated by a cyberattack.2 In response,

“PBI promptly launched an investigation into the nature and scope of the MOVEit vulnerability’s

impact on our systems.”3 As a result of its investigation, PBI concluded – on an undisclosed date

– that “the third party accessed one of [Defendant’s] Transfer servers on May 29, 2023 and May

30, 2023 and downloaded data.”4

         6.        According to Defendant’s untitled letter sent to Plaintiff and other victims of the

Data Breach (the “Notice Letter”), the compromised PII included individuals’ full names, dates of

birth, Social Security numbers, contract numbers, and zip codes.5

         7.        Defendant failed to adequately protect Plaintiff’s and Class Members PII––and

failed to even encrypt or redact this highly sensitive information. This unencrypted, unredacted PII




2
        The “Notice Letter.” A sample copy is available at hftps://www.doj.nh.gov/consumer/security-
breaches/documents/talcoft-resolufion-life-annuity-insurance-company-20230714.pdf (last visited Aug. 15, 2023).
3
         Id.
4
         Id.
5
         Id.



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was compromised due to Defendant’s negligent and/or careless acts and omissions and their utter

failure to protect customers’ sensitive data. Hackers targeted and obtained Plaintiff’s and Class

Members’ PII because of its value in exploiting and stealing the identities of Plaintiff and Class

Members. The present and continuing risk to victims of the Data Breach will remain for their

respective lifetimes.

        8.       Plaintiff brings this action on behalf of all persons whose PII was compromised as

a result of Defendant’s failure to: (i) adequately protect the PII of Plaintiff and Class Members;

(ii) warn Plaintiff and Class Members of Defendant’s inadequate information security practices;

and (iii) effectively secure hardware containing protected PII using reasonable and effective

security procedures free of vulnerabilities and incidents. Defendant’s conduct amounts at least to

negligence and violates federal and state statutes.

        9.       Defendant disregarded the rights of Plaintiff and Class Members by intentionally,

willfully, recklessly, or negligently failing to implement and maintain adequate and reasonable

measures and ensure those measures were followed by its IT vendors to ensure that the PII of

Plaintiff and Class Members was safeguarded, failing to take available steps to prevent an

unauthorized disclosure of data, and failing to follow applicable, required, and appropriate

protocols, policies, and procedures regarding the encryption of data, even for internal use. As a

result, the PII of Plaintiff and Class Members was compromised through disclosure to an unknown

and unauthorized third party. Plaintiff and Class Members have a continuing interest in ensuring

that their information is and remains safe, and they should be entitled to injunctive and other

equitable relief.

        10.      Plaintiff and Class Members have suffered injury as a result of Defendant’s

conduct. These injuries include: (i) Plaintiff experiencing identity theft in the form of fraudulent




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charges to his debit card in or about July 2023; (ii) invasion of privacy; (iii) lost or diminished

value of PII; (iv) lost time and opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (v) loss of benefit of the bargain; and (vi) the continued and

certainly increased risk to their PII, which: (a) remains unencrypted and available for unauthorized

third parties to access and abuse; and (b) remains backed up in Defendant’s possession and is

subject to further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the PII.

        11.    Plaintiff and Class Members seek to remedy these harms and prevent any future

data compromise on behalf of himself and all similarly situated persons whose personal data was

compromised and stolen as a result of the Data Breach and who remain at risk due to Defendant’s

inadequate data security practices.

II.    PARTIES

        12.    Plaintiff Lee Guitang is, and at all times mentioned herein was, an individual citizen

of Mililani, Hawaii.

        13.    Defendant Talcott is a Connecticut-based insurance company with a principal place

of business located at 1 Griffin Road North, Windsor, Connecticut 06095.

III.    JURISDICTION AND VENUE

        14.    The Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. §1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. The number of class members is over 100, many of whom reside outside the

state of Connecticut and have different citizenship from Talcott, including Plaintiff. Thus, minimal

diversity exists under 28 U.S.C. §1332(d)(2)(A).

        15.    This Court has jurisdiction over Talcott because Talcott operates in this District.




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        16.         Venue is proper in this Court pursuant to 28 U.S.C. §1391(a)(1) because

Defendant’s principal place of business is located in this District, a substantial part of the events

giving rise to this action occurred in this District, and Talcott has harmed Class Members residing

in this District.

IV.    FACTUAL ALLEGATIONS

        A.          Defendant’s Business

        17.         Defendant is a “life insurance and annuity company and solutions-provider that

oversees and administers approximately one million contracts and $92 billion in assets[.]”6

        18.         Plaintiff and Class Members are current and former Talcott customers.

        19.         As a condition of receiving its products and/or services, Talcott requires that its

customers, including Plaintiff and Class Members, entrust it with highly sensitive personal

information.

        20.         The information held by Defendant in its computer systems or those of its vendors

at the time of the Data Breach included the unencrypted PII of Plaintiff and Class Members.

        21.         Upon information and belief, Defendant made promises and representations to its

customers, including Plaintiff and Class Members, that the PII collected from them as a condition

of obtaining products and/or services from Defendant would be kept safe, confidential, that the

privacy of that information would be maintained, and that Defendant would delete any sensitive

information after it was no longer required to maintain it.

        22.         Indeed, Defendant’s Privacy Policy provides that: “[w]e take commercially

reasonable precautions to safeguard the personal information we collect, and we take measures to




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        Supra note 1.



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require third parties with whom we share personal information to use reasonable precautions to

safeguard such information.”7

        23.      Plaintiff and Class Members provided their PII to Defendant with the reasonable

expectation and on the mutual understanding that Defendant would comply with its obligations to

keep such information confidential and secure from unauthorized access.

        24.      Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their PII. Plaintiff and Class Members relied on the sophistication of Defendant

to keep their PII confidential and securely maintained, to use this information for necessary

purposes only, and to make only authorized disclosures of this information. Plaintiff and Class

Members value the confidentiality of their PII and demand security to safeguard their PII.

        25.      Defendant had a duty to adopt reasonable measures to protect the PII of Plaintiff

and Class Members from involuntary disclosure to third parties and to audit, monitor, and verify

the integrity of its IT vendors and affiliates. Defendant has a legal duty to keep consumers’ PII

safe and confidential.

        26.      Defendant had obligations created by the FTC Act, Gramm-Leach-Bliley Act,

contract, industry standards, and representations made to Plaintiff and Class Members, to keep

their PII confidential and to protect it from unauthorized access and disclosure.

        27.      Defendant derived a substantial economic benefit from collecting Plaintiff’s and

Class Members’ PII. Without the required submission of PII, Defendant could not perform the

services it provides.




7
         Privacy Policy, TALCOTT RESOLUTION LIFE INSURANCE COMPANY,
https://www.talcottresolution.com/onlineprivacypolicy/onlineprivacypolicy.html (last visited Aug. 11, 2023).



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       28.      By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ PII, Defendant assumed legal and equitable duties and knew or should have known that

it was responsible for protecting Plaintiff’s and Class Members’ PII from disclosure.

       B.       The Data Breach

       29.      On or about July 19, 2023, Defendant began sending Plaintiff and other Data

Breach victims an untitled letter (the “Notice Letter”), informing them that:

       What Happened? On or around May 31, 2023, Progress Software, the provider of
       MOVEit Transfer software disclosed a vulnerability in their software that had been
       exploited by an unauthorized third party. PBI utilizes MOVEit in the regular course
       of our business operations to securely transfer files. PBI promptly launched an
       investigation into the nature and scope of the MOVEit vulnerability’s impact on
       our systems. Through the investigation, we learned that the third party accessed one
       of our MOVEit Transfer servers on May 29, 2023 and May 30, 2023 and
       downloaded data. We then conducted a manual review of our records to confirm
       the identities of individuals potentially affected by this event and their contact
       information to provide notifications. We recently completed this review.

       What Information Was Involved? Our investigation determined that the
       following types of information related to you were present in the server at the time
       of the event: full name, Social Security number, date of birth, contract number, and
       zip code.8

       30.      Omitted from the Notice Letter were the dates of Defendant’s investigation, the

details of the root cause of the Data Breach, the vulnerabilities exploited, and the remedial

measures undertaken to ensure such a breach does not occur again. To date, these critical facts

have not been explained or clarified to Plaintiff and Class Members, who retain a vested interest

in ensuring that their PII remains protected.

       31.      This “disclosure” amounts to no real disclosure at all, as it fails to inform, with any

degree of specificity, Plaintiff and Class Members of the Data Breach’s critical facts. Without




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       Notice Letter, supra note 2.



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these details, Plaintiff’s and Class Members’ ability to mitigate the harms resulting from the Data

Breach is severely diminished.

       32.     Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

causing the exposure of PII, such as encrypting the information or deleting it when it is no longer

needed. Moreover, Defendant failed to exercise due diligence in selecting its IT vendors or

deciding with whom it would share sensitive PII.

       33.     The attacker accessed and acquired files Defendant shared with a third party

containing unencrypted PII of Plaintiff and Class Members, including their Social Security

numbers and other sensitive information. Plaintiff’s and Class Members’ PII was accessed and

stolen in the Data Breach.

       34.     Plaintiff further believes his PII and that of Class Members was subsequently sold

on the dark web following the Data Breach, as that is the modus operandi of cybercriminals that

commit cyber-attacks of this type.

       C.      Defendant Acquires, Collects, and Stores Plaintiff’s and Class Member’s PII

       35.     As a condition to obtain products and/or services from Talcott, Plaintiff and Class

Members were required to give their sensitive and confidential PII to Defendant.

       36.     Defendant retains and stores this information and derives a substantial economic

benefit from the PII that they collect. But for the collection of Plaintiff’s and Class Members’ PII,

Defendant would be unable to perform its services.

       37.     By obtaining, collecting, and storing the PII of Plaintiff and Class Members,

Defendant assumed legal and equitable duties and knew or should have known that they were

responsible for protecting the PII from disclosure.




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       38.      Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their PII and relied on Defendant to keep their PII confidential and maintained

securely, to use this information for business purposes only, and to make only authorized

disclosures of this information.

       39.      Defendant could have prevented this Data Breach by properly securing and

encrypting the files and file servers containing the PII of Plaintiff and Class Members or by

exercising due diligence in selecting its IT vendors and properly auditing those vendors’ security

practices.

       40.      Upon information and belief, Defendant made promises to Plaintiff and Class

Members to maintain and protect their PII, demonstrating an understanding of the importance of

securing PII.

       41.      Indeed, Defendant’s Privacy Policy provides that: “[w]e take commercially

reasonable precautions to safeguard the personal information we collect, and we take measures to

require third parties with whom we share personal information to use reasonable precautions to

safeguard such information.”9

       42.      Defendant’s negligence in safeguarding the PII of Plaintiff and Class Members is

exacerbated by the repeated warnings and alerts directed to protecting and securing sensitive data.




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       Supra note 7.



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        E.       Defendant Knew or Should Have Known of the Risk Because Insurance
                 Companies in Possession of PII Are Particularly Susceptible to Cyber Attacks

        43.      Defendant’s data security obligations were particularly important given the

substantial increase in cyber-attacks and/or data breaches targeting insurance companies that

collect and store PII, like Defendant, preceding the date of the breach.

        44.      Data thieves regularly target companies like Defendant’s due to the highly sensitive

information that they have in their custody and control. Defendant knew and understood that

unprotected PII is valuable and highly sought after by criminal parties who seek to illegally

monetize that PII through unauthorized access.

        45.      In 2021, a record 1,862 data breaches occurred, resulting in approximately

293,927,708 sensitive records being exposed, a 68% increase from 2020.10

        46.      In light of recent high profile data breaches at other industry leading companies,

including, Microsoft (250 million records, December 2019), Wattpad (268 million records, June

2020), Facebook (267 million users, April 2020), Estee Lauder (440 million records, January

2020), Whisper (900 million records, March 2020), and Advanced Info Service (8.3 billion

records, May 2020), Defendant knew or should have known that the PII that they collected and

maintained would be targeted by cybercriminals.

        47.      Indeed, cyber-attacks, such as the one experienced by Defendant, have become so

notorious that the Federal Bureau of Investigation (“FBI”) and U.S. Secret Service have issued a

warning to potential targets so they are aware of, and prepared for, a potential attack. As one report




10
          See 2021 Data Breach            Annual   Report   at   6,   ITRC   (Jan.   2022)   (available   at
https://notified.idtheftcenter.org/s/).



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explained, smaller entities that store PII are “attractive to ransomware criminals . . . because they

often have lesser IT defenses and a high incentive to regain access to their data quickly.”11

        48.      As a custodian of PII, Defendant knew, or should have known, the importance of

safeguarding the PII entrusted to it by Plaintiff and Class members, and of the foreseeable

consequences if its data security systems were breached, including the significant costs imposed

on Plaintiff and Class Members as a result of a breach.

        49.      Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the PII of Plaintiff and Class

Members from being compromised.

        50.      At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members and of the foreseeable

consequences that would occur if Defendant’s data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a result

of a breach.

        51.      Additionally, as companies became more dependent on computer systems to run

their business,12 e.g., working remotely as a result of the Covid-19 pandemic, and the Internet of

Things (“IoT”), the danger posed by cybercriminals is magnified, thereby highlighting the need

for adequate administrative, physical, and technical safeguards.13


11
         Ben Kochman, FBI, Secret Service Warn of Targeted Ransomware, LAW360 (Nov. 18, 2019 9:44 PM EST),
https://www.law360.com/consumerprotection/articles/1220974/fbi-secret-service-warn-of-targeted-
ransomware?nl_pk=3ed44a08-fcc2-4b6c-89f0-
aa0155a8bb51&utm_source=newsletter&utm_medium=email&utm_campaign=consumerprotection.
12
          Danny Brando, et al., Implications of Cyber Risk for Financial Stability, FEDS NOTES, FEDERAL RESERVE
(May 12, 2022), https://www.federalreserve.gov/econres/notes/feds-notes/implications-of-cyber-risk-for-financial-
stability-20220512.html.
13
         Dr. Suleyman Ozarslan, Key Threats and Cyber Risks Facing Financial Services and Banking Firms in 2022,
PICUS SECURITY (Mar. 24, 2022), https://www.picussecurity.com/key-threats-and-cyber-risks-facing-financial-
services-and-banking-firms-in-2022.



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        52.     Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s server(s), amounting to potentially more than five

hundred thousand individuals’ detailed PII,14 and, thus, the significant number of individuals who

would be harmed by the exposure of the unencrypted data.

        53.     In the Notice Letter, Defendant offers to cover 12 months of identity monitoring

for Plaintiff and Class Members. This is wholly inadequate to compensate Plaintiff and Class

Members as it fails to provide for the fact that victims of data breaches and other unauthorized

disclosures commonly face multiple years of ongoing identity theft, financial fraud, and it entirely

fails to provide sufficient compensation for the unauthorized release and disclosure of Plaintiff’s

and Class Members’ PII. Moreover, once this service expires, Plaintiff and Class Members will

be forced to pay out of pocket for necessary identity monitoring services.

        54.     Defendant’s offer of credit and identity monitoring establishes that Plaintiff’s and

Class Members’ sensitive PII was in fact affected, accessed, compromised, and exfiltrated from

Defendant’s computer systems.

        55.     The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.

        56.     The ramifications of Defendant’s failure to keep secure the PII of Plaintiff and Class

Members are long lasting and severe. Once PII is stolen – particularly Social Security numbers –

fraudulent use of that information and damage to victims may continue for years.




14
         See    Data    Breach    Notifications, OFFICE    OF    THE   MAINE     ATTORNEY      GENERAL,
hftps://apps.web.maine.gov/online/aeviewer/ME/40/d3f10cd8-2991-4c40-a13a-bca0564fbbca.shtml (last visited
Aug. 11, 2023).



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        57.      As an insurance company in possession of its customers’ and former customers’

PII, Defendant knew, or should have known, the importance of safeguarding the PII entrusted to

it by Plaintiff and Class Members and of the foreseeable consequences if its data security systems,

or those on which it transferred PII, were breached. This includes the significant costs imposed

on Plaintiff and Class Members as a result of a breach. Nevertheless, Defendant failed to take

adequate cybersecurity measures to prevent the Data Breach.

        F.       Value of Personally Identifiable Information

        58.      The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”15

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.”16

        59.      The PII of individuals remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials.17




15
        17 C.F.R. §248.201 (2013).
16
        Id.
17
         Anita George, Your personal data is for sale on the dark web. Here’s how much it costs, DIGITAL TRENDS
(Oct. 16, 2019), https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-costs/.



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        60.     For example, PII can be sold at a price ranging from $40 to $200.18 Criminals can

also purchase access to entire company data breaches from $900 to $4,500.19

        61.     Social Security numbers are among the worst kind of PII to have stolen because

they may be put to a variety of fraudulent uses and are difficult for an individual to change. The

Social Security Administration stresses that the loss of an individual’s Social Security number, as

experienced by Plaintiffs and some Class Members, can lead to identity theft and extensive

financial fraud:

        A dishonest person who has your Social Security number can use it to get other
        personal information about you. Identity thieves can use your number and your
        good credit to apply for more credit in your name. Then, they use the credit cards
        and don’t pay the bills, it damages your credit. You may not find out that someone
        is using your number until you’re turned down for credit, or you begin to get calls
        from unknown creditors demanding payment for items you never bought. Someone
        illegally using your Social Security number and assuming your identity can cause
        a lot of problems.20

        62.     What’s more is that it is no easy task to change or cancel a stolen Social Security

number. An individual cannot obtain a new Social Security number without significant paperwork

and evidence of actual misuse. In other words, preventive action to defend against the possibility

of misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

        63.     Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “[t]he credit bureaus and banks are able to link




18
        Brian Stack, Here’s How Much Your Personal Information Is Selling for on the Dark Web, EXPERIAN (Dec.
6, 2017), https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-selling-for-
on-the-dark-web/..
19
           In the Dark, VPNOVERVIEW (2019), https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/
(last visited Oct. 217, 2022).
20
         Identity Theft and Your Social Security Number, SOCIAL              SECURITY    ADMINISTRATION,     ,
https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited Oct. 17, 2022).



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the new number very quickly to the old number, so all of that old bad information is quickly

inherited into the new Social Security number.”21

        64.      Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach – the names and Social Security numbers – is impossible to

“close” and difficult, if not impossible, to change.

        65.      This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information . . . [is] worth more than 10x on the black market.”22

        66.      Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

        67.      The fraudulent activity resulting from the Data Breach may not come to light for

years. There may be a time lag between when harm occurs versus when it is discovered, and also

between when PII is stolen and when it is used. According to the U.S. Government Accountability

Office (“GAO”), which conducted a study regarding data breaches:

        [L]aw enforcement officials told us that in some cases, stolen data may be held for
        up to a year or more before being used to commit identity theft. Further, once stolen
        data have been sold or posted on the Web, fraudulent use of that information may
        continue for years. As a result, studies that attempt to measure the harm resulting
        from data breaches cannot necessarily rule out all future harm.23

21
         Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb. 9, 2015
4:59 AM ET), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-millions-worrying-
about-identity-theft.
22
         Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers, IT
WORLD (Feb. 6, 2015), https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-
10x-price-of-stolen-credit-card-numbers.html.
23
         United States Gov’t Accountability Off., GAO-07-737, Personal Information: Data Breaches Are Frequent,
but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is Unknown (June 2007), at 29,
https://www.gao.gov/new.items/d07737.pdf (“GAO Report”).



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       G.      Talcott Failed to Comply with FTC Guidelines

       68.     The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision

making. Indeed, the FTC has concluded that a company’s failure to maintain reasonable and

appropriate data security for consumers’ sensitive personal information is an “unfair practice” in

violation of Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. §45. See, e.g.,

FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).

       69.     In October 2016, the FTC updated its publication, Protecting Personal Information:

A Guide for Business, which established cybersecurity guidelines for businesses. The guidelines

note that businesses should protect the personal customer information that they keep, properly

dispose of personal information that is no longer needed, encrypt information stored on computer

networks, understand their network’s vulnerabilities, and implement policies to correct any

security problems. The guidelines also recommend that businesses use an intrusion detection

system to expose a breach as soon as it occurs, monitor all incoming traffic for activity indicating

someone is attempting to hack into the system, watch for large amounts of data being transmitted

from the system, and have a response plan ready in the event of a breach.

       70.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction, limit access to sensitive data, require complex passwords

to be used on networks, use industry-tested methods for security, monitor the network for

suspicious activity, and verify that third-party service providers have implemented reasonable

security measures.




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        71.    The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data by treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by the FTCA. Orders resulting from these actions further clarify

the measures businesses must take to meet their data security obligations.

        72.    These FTC enforcement actions include actions against insurance companies, like

Defendant.

        73.    As evidenced by the Data Breach, Talcott failed to properly implement basic data

security practices and failed to audit, monitor, or ensure the integrity of its vendor’s data security

practices. Talcott’s failure to employ reasonable and appropriate measures to protect against

unauthorized access to Plaintiff’s and Class Members’ PII constitutes an unfair act or practice

prohibited by Section 5 of the FTCA.

        74.    Talcott was at all times fully aware of its obligation to protect the PII of its

customers yet failed to comply with such obligations. Defendant was also aware of the significant

repercussions that would result from its failure to do so.

        H.     Talcott Failed to Comply with the Gramm-Leach-Bliley Act

        75.    Talcott is a financial institution, as that term is defined by Section 509(3)(A) of

the Gramm-Leach-Bliley Act (“GLBA”), 15 U.S.C. §6809(3)(A), and thus is subject to the

GLBA.

        76.    The GLBA defines a financial institution as “any institution the business of which

is engaging in financial activities as described in Section 1843(k) of Title 12 [The Bank Holding

Company Act of 1956].” 15 U.S.C. §6809(3)(A).




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        77.     Defendant collects nonpublic personal information, as defined by 15 U.S.C.

§6809(4)(A), 16 C.F.R. §313.3(n) and 12 C.F.R. §1016.3(p)(1). Accordingly, during the relevant

time period, Defendant was subject to the requirements of the GLBA, 15 U.S.C. §§6801.1, et

seq., and is subject to numerous rules and regulations promulgated on the GLBA statutes.

        78.     The GLBA Privacy Rule became effective on July 1, 2001. See 16 C.F.R. Part

313. Since the enactment of the Dodd-Frank Act on July 21, 2010, the CFPB became responsible

for implementing the Privacy Rule. In December 2011, the CFPB restated the implementing

regulations in an interim final rule that established the Privacy of Consumer Financial

Information, Regulation P, 12 C.F.R. §1016 (“Regulation P”), with the final version becoming

effective on October 28, 2014.

        79.     Accordingly, Defendant’s conduct is governed by the Privacy Rule prior to

December 30, 2011 and by Regulation P after that date.

        80.     Both the Privacy Rule and Regulation P require financial institutions to provide

customers with an initial and annual privacy notice. These privacy notices must be “clear and

conspicuous.” 16 C.F.R. §§313.4 and 313.5; 12 C.F.R. §§1016.4 and 1016.5. “Clear and

conspicuous means that a notice is reasonably understandable and designed to call attention to

the nature and significance of the information in the notice.” 16 C.F.R. §313.3(b)(1); 12 C.F.R.

§1016.3(b)(1). These privacy notices must “accurately reflect[] [the financial institution’s]

privacy policies and practices.” 16 C.F.R. §313.4 and 313.5; 12 C.F.R. §§1016.4 and 1016.5.

They must include specified elements, including the categories of nonpublic personal information

the financial institution collects and discloses, the categories of third parties to whom the financial

institution discloses the information, and the financial institution’s security and confidentiality

policies and practices for nonpublic personal information. 16 C.F.R. §313.6; 12 C.F.R. §1016.6.




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These privacy notices must be provided “so that each consumer can reasonably be expected to

receive actual notice.” 16 C.F.R. §313.9; 12 C.F.R. §1016.9. As alleged herein, Defendant

violated the Privacy Rule and Regulation P.

         81.   Upon information and belief, Defendant failed to provide annual privacy notices

to customers after the customer relationship ended, despite retaining these customers’ PII and

storing that PII on Defendant’s network systems.

         82.   Defendant failed to adequately inform their customers that they were storing

and/or sharing, or would store and/or share, the customers’ PII on an insecure platform, accessible

to unauthorized parties from the internet, and would do so after the customer relationship ended.

         83.   The Safeguards Rule, which implements Section 501(b) of the GLBA, 15 U.S.C.

§6801(b), requires financial institutions to protect the security, confidentiality, and integrity of

customer information by developing a comprehensive written information security program that

contains reasonable administrative, technical, and physical safeguards, including: (1) designating

one or more employees to coordinate the information security program; (2) identifying reasonably

foreseeable internal and external risks to the security, confidentiality, and integrity of customer

information, and assessing the sufficiency of any safeguards in place to control those risks; (3)

designing and implementing information safeguards to control the risks identified through risk

assessment, and regularly testing or otherwise monitoring the effectiveness of the safeguards’

key controls, systems, and procedures; (4) overseeing service providers and requiring them by

contract to protect the security and confidentiality of customer information; and (5) evaluating

and adjusting the information security program in light of the results of testing and monitoring,

changes to the business operation, and other relevant circumstances. 16 C.F.R. §§314.3 and

314.4.




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        84.      As alleged herein, Defendant violated the Safeguard Rule.

        85.      Defendant failed to assess reasonably foreseeable risks to the security,

confidentiality, and integrity of customer information and failed to monitor the systems of its IT

partners or verify the integrity of those systems.

        86.      Defendant violated the GLBA and its own policies and procedures by sharing the

PII of Plaintiff and Class Members with a non-affiliated third party without providing Plaintiff

and Class Members (a) an opt-out notice and (b) a reasonable opportunity to opt out of such

disclosure.

        I.       Talcott Failed to Comply with Industry Standards

        87.      As noted above, experts studying cybersecurity routinely identify insurance

companies as being particularly vulnerable to cyberattacks because of the value of the PII which

they collect and maintain.

        88.      Some industry best practices that should be implemented by insurance companies

dealing with sensitive PII, like Talcott, include but are not limited to: educating all employees,

strong password requirements, multilayer security including firewalls, anti-virus and anti-malware

software, encryption, multi-factor authentication, backing up data, and limiting which employees

can access sensitive data. As evidenced by the Data Breach, Defendant failed to follow some or

all of these industry best practices.

        89.      Other best cybersecurity practices that are standard in the insurance industry

include: installing appropriate malware detection software; monitoring and limiting network ports;

protecting web browsers and email management systems; setting up network systems such as

firewalls, switches, and routers; monitoring and protecting physical security systems; and training




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staff regarding these points. As evidenced by the Data Breach, Defendant failed to follow these

cybersecurity best practices.

       90.      Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2) and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

       91.      Defendant failed to comply with these accepted standards in the insurance industry,

thereby permitting the Data Breach to occur.

       J.       Talcott Breached Its Duty to Safeguard Plaintiff’s and Class Members’ PII

       92.      In addition to its obligations under federal and state laws, Talcott owed a duty to

Plaintiff and Class Members to exercise reasonable care in obtaining, retaining, securing,

safeguarding, deleting, and protecting the PII in its possession from being compromised, lost,

stolen, accessed, and misused by unauthorized persons. Talcott owed a duty to Plaintiff and Class

Members to provide reasonable security, including consistency with industry standards and

requirements, and to ensure that its computer systems, networks, and protocols adequately

protected the PII of Class Members.

       93.      Talcott breached its obligations to Plaintiff and Class Members and/or was

otherwise negligent and reckless because it failed to properly maintain and safeguard its computer

systems and data and failed to audit, monitor, or ensure the integrity of its vendor’s data security

practices. Talcott’s unlawful conduct includes, but is not limited to, the following acts and/or

omissions:




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       a.       failing to maintain an adequate data security system that would reduce the risk of

                data breaches and cyberattacks;

       b.       failing to adequately protect customers’ PII;

       c.       failing to properly monitor its own data security systems for existing intrusions;

       d.       failing to audit, monitor, or ensure the integrity of its vendor’s data security

                practices;

       e.       failing to sufficiently train its employees and vendors regarding the proper handling

                of its customers PII;

       f.       failing to fully comply with FTC guidelines for cybersecurity in violation of the

                FTCA;

       g.       failing to adhere to the Gramm-Leach-Bliley Act and industry standards for

                cybersecurity as discussed above; and,

       h.       otherwise breaching its duties and obligations to protect Plaintiff’s and Class

                Members’ PII.

       94.      Talcott negligently and unlawfully failed to safeguard Plaintiff’s and Class

Members’ PII by allowing cyberthieves to access its computer network and systems which

contained unsecured and unencrypted PII.

       95.      Had Talcott remedied the deficiencies in its information storage and security

systems or those of its vendors and affiliates, followed industry guidelines, and adopted security

measures recommended by experts in the field, it could have prevented intrusion into its

information storage and security systems and, ultimately, the theft of Plaintiff’s and Class

Members’ confidential PII.

       K.       Common Injuries & Damages




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        96.    As a result of Defendant’s ineffective and inadequate data security practices, the

Data Breach, and the foreseeable consequences of PII ending up in the possession of criminals,

the risk of identity theft to the Plaintiff and Class Members has materialized and is imminent, and

Plaintiff and Class Members have all sustained actual injuries and damages, including: (a) invasion

of privacy; (b) loss of time and loss of productivity incurred mitigating the materialized risk and

imminent threat of identity theft risk; (c) the loss of benefit of the bargain (price premium

damages); (d) diminution of value of their PII; I invasion of privacy; and (f) the continued risk to

their PII, which remains in the possession of Defendant, and which is subject to further breaches,

so long as Defendant fails to undertake appropriate and adequate measures to protect Plaintiff’s

and Class Members’ PII.

        L.     The Data Breach Increases Victims’ Risk of Identity Theft

        97.    Plaintiff and Class Members are at a heightened risk of identity theft for years to

come.

        98.    The unencrypted PII of Class Members will end up for sale on the dark web because

that is the modus operandi of hackers. In addition, unencrypted PII may fall into the hands of

companies that will use the detailed PII for targeted marketing without the approval of Plaintiff

and Class Members. Unauthorized individuals can easily access the PII of Plaintiff and Class

Members.

        99.    The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal PII to monetize the information. Criminals monetize the

data by selling the stolen information on the black market to other criminals who then utilize the

information to commit a variety of identity theft related crimes discussed below.




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         100.     Because a person’s identity is akin to a puzzle with multiple data points, the more

accurate pieces of data an identity thief obtains about a person, the easier it is for the thief to take

on the victim’s identity – or track the victim to attempt other hacking crimes against the individual

to obtain more data to perfect a crime.

         101.     For example, armed with just a name and date of birth, a data thief can utilize a

hacking technique referred to as “social engineering” to obtain even more information about a

victim’s identity, such as a person’s login credentials or Social Security number. Social

engineering is a form of hacking whereby a data thief uses previously acquired information to

manipulate and trick individuals into disclosing additional confidential or personal information

through means such as spam phone calls and text messages or phishing emails. Data Breaches can

be the starting point for these additional targeted attacks on the victim.

         102.     One such example of criminals piecing together bits and pieces of compromised

PII for profit is the development of “Fullz” packages.24

         103.     With “Fullz” packages, cyber-criminals can cross-reference two sources of PII to

marry unregulated data available elsewhere to criminally stolen data with an astonishingly

complete scope and degree of accuracy in order to assemble complete dossiers on individuals.




24
          “Fullz” is fraudster speak for data that includes the information of the victim, including, but not limited to,
the name, address, credit card information, social security number, date of birth, and more. As a rule of thumb, the
more information you have on a victim, the more money that can be made off of those credentials. Fullz are usually
pricier than standard credit card credentials, commanding up to $100 per record (or more) on the dark web. Fullz can
be cashed out (turning credentials into money) in various ways, including performing bank transactions over the phone
with the required authentication details in-hand. Even “dead Fullz,” which are Fullz credentials associated with credit
cards that are no longer valid, can still be used for numerous purposes, including tax refund scams, ordering credit
cards on behalf of the victim, or opening a “mule account” (an account that will accept a fraudulent money transfer
from a compromised account) without the victim’s knowledge. See, e.g., Brian Krebs, Medical Records for Sale in
Underground Stolen From Texas Life Insurance Firm, Krebs on Security (Sep. 18, 2014),
https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-stolen-from-texas-life-insurance-
firm/.



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       104.      The development of “Fullz” packages means here that the stolen PII from the Data

Breach can easily be used to link and identify it to Plaintiff’s and Class Members’ phone numbers,

email addresses, and other unregulated sources and identifiers. In other words, even if certain

information such as emails, phone numbers, or credit card numbers may not be included in the PII

that was exfiltrated in the Data Breach, criminals may still easily create a Fullz package and sell it

at a higher price to unscrupulous operators and criminals (such as illegal and scam telemarketers)

over and over.

       105.      The existence and prevalence of “Fullz” packages means that the PII stolen from

the data breach can easily be linked to the unregulated data (like driver’s license numbers) of

Plaintiff and the other Class Members.

       106.      Thus, even if certain information (such as driver’s license numbers) was not stolen

in the data breach, criminals can still easily create a comprehensive “Fullz” package.

       107.      Then, this comprehensive dossier can be sold – and then resold in perpetuity – to

crooked operators and other criminals (like illegal and scam telemarketers).

       M.        Loss Of Time To Mitigate Risk Of Identity Theft And Fraud

       108.      As a result of the recognized risk of identity theft, when a Data Breach occurs, and

an individual is notified by a company that their PII was compromised, as in this Data Breach, the

reasonable person is expected to take steps and spend time to address the dangerous situation, learn

about the breach, and otherwise mitigate the risk of becoming a victim of identity theft of fraud.

Failure to spend time taking steps to review accounts or credit reports could expose the individual

to greater financial harm – yet, the resource and asset of time has been lost.




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        109.     Thus, due to the actual and imminent risk of identity theft, Plaintiff and Class

Members must, as Defendant’s Notice Letter instructs,25 “remain vigilant” and monitor their

financial accounts for many years to mitigate the risk of identity theft.

        110.     Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions to remedy the harms they have or may experience as a result

of the Data Breach, such as researching and verifying the legitimacy of the Data Breach upon

receiving the Notice Letter and replacing financial cards impacted in the Data Breach.

        111.     These efforts are consistent with the U.S. Government Accountability Office that

released a report in 2007 regarding data breaches (“GAO Report”) in which it noted that victims

of identity theft will face “substantial costs and time to repair the damage to their good name and

credit record.”26

        112.     These efforts are also consistent with the steps that FTC recommends that data

breach victims take to protect their personal and financial information after a data breach,

including: contacting one of the credit bureaus to place a fraud alert (consider an extended fraud

alert that lasts for seven years if someone steals their identity), reviewing their credit reports,

contacting companies to remove fraudulent charges from their accounts, placing a credit freeze on

their credit, and correcting their credit reports.27

        113.

        N.       Diminution Value Of PII




25
        Notice Letter, supra note 2.
26
        See GAO Report, supra note 23.
27
         See Steps, FEDERAL TRADE COMMISSION, IDENTITY THEFT.GOV, https://www.identitytheft.gov/Steps (last
visited Aug. 15, 2023).



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         114.     PII is a valuable property right.28 Its value is axiomatic, considering the value of

Big Data in corporate America and the consequences of cyber thefts include heavy prison

sentences. Even this obvious risk to reward analysis illustrates beyond doubt that PII has

considerable market value.

         115.     An active and robust legitimate marketplace for PII exists. In 2019, the data

brokering industry was worth roughly $200 billion.29

         116.     In fact, the data marketplace is so sophisticated that consumers can actually sell

their non-public information directly to a data broker who in turn aggregates the information and

provides it to marketers or app developers.30

         117.     Consumers who agree to provide their web browsing history to the Nielsen

Corporation can receive points redeemable for up to $50.00 a year in rewards.31

         118.     Conversely sensitive PII can sell for as much as $363 per record on the dark web

according to the Infosec Institute.32

         119.     As a result of the Data Breach, Plaintiff’s and Class Members’ PII, which has an

inherent market value in both legitimate and dark markets, has been damaged and diminished by

its compromise and unauthorized release. However, this transfer of value occurred without any

consideration paid to Plaintiff or Class Members for their property, resulting in an economic loss.


28
           See, e.g., Randall T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable Information
(“PII”) Equals the “Value” of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4 (2009) (“PII, which companies obtain
at little cost, has quantifiable value that is rapidly reaching a level comparable to the value of traditional financial
assets.”) (citations omitted).
29
         David Lazarus, Column: Shadowy data brokers make the most of their invisibility cloak, LOS ANGELES TIMES
(Nov. 5, 2019 5:00 AM PT), https://www.latimes.com/business/story/2019-11-05/column-data-brokers.
30
         Datacoup, Inc., https://datacoup.com/ (last visited Aug. 15, 2023).
31
          Frequently Asked Questions: What rewards can I earn?, Nielsen Computer & Mobile Panel,
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html (last visited Aug. 15, 2023).
32
          See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, INFOSEC (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/.



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Moreover, the PII is now readily available, and the rarity of the Data has been lost, thereby causing

additional loss of value.

         120.   Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change, e.g., names and Social Security numbers.

         121.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         122.   The fraudulent activity resulting from the Data Breach may not come to light for

years.

         123.   At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members, and of the foreseeable

consequences that would occur if Defendant’s data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a result

of a breach.

         124.   Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s network, amounting to over five hundred thousand

individuals’ detailed personal information, upon information and belief, and thus, the significant

number of individuals who would be harmed by the exposure of the unencrypted data.

         125.   The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.




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        O.      Future Cost of Credit & Identity Theft Monitoring is Reasonable and
                Necessary

        126.    Given the type of targeted attack in this case and sophisticated criminal activity, the

type of PII involved, and the volume of data obtained in the Data Breach, there is a strong

probability that entire batches of stolen information have been placed, or will be placed, on the

black market/dark web for sale and purchase by criminals intending to utilize the PII for identity

theft crimes – e.g., opening bank accounts in the victims’ names to make purchases or to launder

money; file false tax returns; take out loans or lines of credit; or file false unemployment claims.

        127.    Such fraud may go undetected until debt collection calls commence months, or even

years, later. An individual may not know that his or her Social Security number was used to file

for unemployment benefits until law enforcement notifies the individual’s employer of the

suspected fraud. Fraudulent tax returns are typically discovered only when an individual’s

authentic tax return is rejected.

        128.    Consequently, Plaintiff and Class Members are at a present and continuous risk of

fraud and identity theft for many years into the future.

        129.    The retail cost of credit monitoring and identity theft monitoring can cost around

$200 a year per Class Member. This is a reasonable and necessary cost to monitor to protect Class

Members from the risk of identity theft that arose from Defendant’s Data Breach. This is a future

cost for a minimum of five years that Plaintiff and Class Members would not need to bear but for

Defendant’s failure to safeguard their PII.

        P.      Loss of the Benefit of the Bargain

        130.    Furthermore, Defendant’s poor data security deprived Plaintiff and Class Members

of the benefit of their bargain. When agreeing to pay Defendant and/or its agents for products

and/or services, Plaintiff and other reasonable consumers understood and expected that they were,



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in part, paying for the product and/or service and necessary data security to protect the PII, when

in fact, Defendant did not provide the expected data security. Accordingly, Plaintiff and Class

Members received products and/or services that were of a lesser value than what they reasonably

be expected to receive under the bargains they struck with Defendant.

       Q.      Plaintiff’s Experience

       131.    Plaintiff Lee Guitang is a current Talcott customer.

       132.    In order to open a Talcott account, he was required to provide his PII to Defendant,

including his name, date of birth, and Social Security number.

       133.    At the time of the Data Breach – approximately May 29, 2023, through May 30,

2023 – Defendant retained Plaintiff’s’ PII in its system.

       134.    Plaintiff Guitang is very careful about sharing his sensitive PII. Plaintiff stores any

documents containing his PII in a safe and secure location. He has never knowingly transmitted

unencrypted sensitive PII over the internet or any other unsecured source. Plaintiff would not have

entrusted his PII to Defendant had he known of Defendant’s lax data security policies.

       135.    Plaintiff Lee Guitang received the Notice Letter, by U.S. mail, directly from

Defendant, dated July 19, 2023. According to the Notice Letter, Plaintiff’s PII was improperly

accessed and obtained by unauthorized third parties, including his name, date of birth, Social

Security number, contract number, and zip code.

       136.    As a result of the Data Breach, and at the direction of Defendant’s Notice Letter,

Plaintiff made reasonable efforts to mitigate the impact of the Data Breach, including but not

limited to: researching and verifying the legitimacy of the Data Breach upon receiving the Notice

Letter and replacing financial cards impacted in the Data Breach – valuable time Plaintiff otherwise




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would have spent on other activities, including but not limited to work and/or recreation. This

time has been lost forever and cannot be recaptured.

       137.    Plaintiff suffered actual injury from having his PII compromised as a result of the

Data Breach including, but not limited to: (i) lost or diminished value of his PII; (ii) lost

opportunity costs associated with attempting to mitigate the actual consequences of the Data

Breach, including but not limited to lost time; (iii) invasion of privacy; (iv) loss of benefit of the

bargain; and (v) the continued and certainly increased risk to his PII, which: (a) remains

unencrypted and available for unauthorized third parties to access and abuse; and (b) remains

backed up in Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the PII.

       138.    As a result of the Data Breach, Plaintiff further suffered actual injury in the form of

his CreditUnion debit card being fraudulently charged for approximately $32 in or about July 2023.

       139.    The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress, which has

been compounded by the fact that Defendant has still not fully informed him of key details about

the Data Breach’s occurrence.

       140.    As a result of the Data Breach, Plaintiff anticipates spending considerable time and

money on an ongoing basis to try to mitigate and address harms caused by the Data Breach.

       141.    As a result of the Data Breach, Plaintiff is at a present risk and will continue to be

at increased risk of identity theft and fraud for years to come.

       142.    Plaintiff Lee Guitang has a continuing interest in ensuring that his PII, which, upon

information and belief, remains backed up in Defendant’s possession, is protected and safeguarded

from future breaches.

V. CLASS ACTION ALLEGATIONS




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        143.    Plaintiff brings this action individually and on behalf of all other persons similarly

situated, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(1), 23(b)(2), and 23(b)(3).

        144.    Specifically, Plaintiff proposes the following Class definitions, subject to

amendment as appropriate:

        Nationwide Class

        All individuals in the United States whose PII was impacted as a result of the Data
        Breach (the “Class”).

        Hawaii Subclass
        All individuals in the state of Hawaii whose PII was impacted as a result of the Data
        Breach (the “Hawaii Subclass”).

        145.    Excluded from the Classes are Defendant and its parents or subsidiaries, any entities

in which it has a controlling interest, as well as its officers, directors, affiliates, legal

representatives, heirs, predecessors, successors, and assigns. Also excluded is any Judge to whom

this case is assigned as well as their judicial staff and immediate family members.

        146.    Plaintiff reserves the right to modify or amend the definition of the proposed

Nationwide Class and/or Hawaii Subclass, as well as add subclasses, before the Court determines

whether certification is appropriate.

        147.    The proposed Class meets the criteria for certification under Fed. R. Civ. P. 23(a),

(b)(2), and (b)(3).

        148.    Numerosity. The Class Members are so numerous that joinder of all members is

impracticable. Upon information and belief, Plaintiff believe that the proposed Class includes at

least 557,000 individuals who have been damaged by Defendant’s conduct as alleged herein.33




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        Supra note 14.



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The precise number of Class Members is unknown to Plaintiff but may be ascertained from

Defendant’s records.

       149.     Commonality. There are questions of law and fact common to the Class which

predominate over any questions affecting only individual Class Members.           These common

questions of law and fact include, without limitation:

       a.       whether Talcott engaged in the conduct alleged herein;

       b.       whether Talcott’s conduct violated the FTCA and/or GBLA;

       c.       when Talcott learned of the Data Breach;

       d.       whether Talcott’s response to the Data Breach was adequate;

       e.       whether Talcott unlawfully lost or disclosed Plaintiff’s and Class Members’ PII;

       f.       whether Talcott failed to implement and maintain reasonable security procedures

                and practices appropriate to the nature and scope of the PII compromised in the

                Data Breach;

       g.       whether Talcott’s data security systems prior to and during the Data Breach

                complied with applicable data security laws and regulations;

       h.       whether Talcott’s data security systems prior to and during the Data Breach were

                consistent with industry standards;

       i.       whether Talcott owed a duty to Class Members to safeguard their PII;

       j.       whether Talcott breached its duty to Class Members to safeguard their PII;

       k.       whether hackers obtained Class Members’ PII via the Data Breach;

       l.       whether Talcott had a legal duty to provide timely and accurate notice of the Data

                Breach to Plaintiff and the Class Members;




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       m.       whether Talcott breached its duty to provide timely and accurate notice of the Data

                Breach to Plaintiff and Class Members;

       n.       whether Talcott knew or should have known that its data security systems and

                monitoring processes were deficient;

       o.       what damages Plaintiff and Class Members suffered as a result of Talcott’s

                misconduct;

       p.       whether Talcott’s conduct was negligent;

       q.       whether Talcott was unjustly enriched;

       r.       whether Plaintiff and Class Members are entitled to actual and/or statutory

                damages;

       s.       whether Plaintiff and Class Members are entitled to additional credit or identity

                monitoring and monetary relief; and

       t.       whether Plaintiff and Class Members are entitled to equitable relief, including

                injunctive relief, restitution, disgorgement, and/or the establishment of a

                constructive trust.

       150.     Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s PII, like that of every other Class Member, was compromised in the Data Breach.

Plaintiff’s claims are typical of those of the other Class Members because, inter alia, all Class

Members were injured through the common misconduct of Talcott. Plaintiff is advancing the same

claims and legal theories on behalf of himself and all other Class Members, and there are no

defenses that are unique to Plaintiff. The claims of Plaintiff and those of Class Members arise from

the same operative facts and are based on the same legal theories.




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        151.    Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of Class Members. Plaintiff’s counsel is competent and experienced in

litigating class actions, including data privacy litigation of this kind.

        152.    Predominance. Talcott has engaged in a common course of conduct toward

Plaintiff and Class Members in that all of Plaintiff’s and Class Members’ data was stored on the

same computer systems and unlawfully accessed and exfiltrated in the same way. The common

issues arising from Talcott’s conduct affecting Class Members set out above predominate over any

individualized issues. Adjudication of these common issues in a single action has important and

desirable advantages of judicial economy.

        153.    Superiority. A Class action is superior to other available methods for the fair and

efficient adjudication of this controversy and no unusual difficulties are likely to be encountered

in the management of this class action. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a Class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for Talcott.

In contrast, conducting this action as a class action presents far fewer management difficulties,

conserves judicial resources and the parties’ resources, and protects the rights of each Class

Member.

        154.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2). Talcott has

acted and/or refused to act on grounds generally applicable to the Class such that final injunctive

relief and/or corresponding declaratory relief is appropriate as to the Class as a whole.




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       155.    Finally, all members of the proposed Class are readily ascertainable. Talcott has

access to the names and addresses and/or email addresses of Class Members affected by the Data

Breach. Class Members have already been preliminarily identified and sent Notice of the Data

Security Incident by Talcott.

VI.   CLAIMS FOR RELIEF

                                             COUNT I
                                            Negligence
                                (On Behalf of Plaintiff and the Class)

       156.    Plaintiff re-alleges and incorporates by reference all other allegations in the

Complaint as if fully set forth herein.

       157.    Defendant requires its customers, including Plaintiff and Class Members, to

submit non-public PII in the ordinary course of providing its insurance services.

       158.    Defendant gathered and stored the PII of Plaintiff and Class Members as part of

its business of soliciting its services to its customers, which solicitations and services affect

commerce.

       159.    Plaintiff and Class Members entrusted Defendant with their PII with the

understanding that Defendant would safeguard their information.

       160.    Defendant had full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and Class Members could and would suffer if the PII were wrongfully disclosed.

       161.    By assuming the responsibility to collect and store this data, and in fact doing so,

and sharing it and using it for commercial gain, Defendant had a duty of care to use reasonable

means to secure and to prevent disclosure of the information, and to safeguard the information

from theft. Defendant’s duty included a responsibility to exercise due diligence in selecting IT




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vendors and to audit, monitor, and ensure the integrity of its vendor’s systems and practices and

to give prompt notice to those affected in the case of a data breach.

       162.    Defendant had a duty to employ reasonable security measures under Section 5 of

the Federal Trade Commission Act, 15 U.S.C. §45, which prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair practice of

failing to use reasonable measures to protect confidential data.

       163.    Defendant’s duty to use reasonable security measures also arose under the GLBA,

under which they were required to protect the security, confidentiality, and integrity of customer

information by developing a comprehensive written information security program that contains

reasonable administrative, technical, and physical safeguards.

       164.    Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks, and the personnel responsible for them, adequately protected the

PII.

       165.    Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Talcott and Plaintiff and Class Members. That

special relationship arose because Plaintiff and the Class entrusted Talcott with their confidential

PII, a necessary part of being customers of Defendant.

       166.    Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential PII.

       167.    Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiff or the Class.




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       168.     Defendant also had a duty to exercise appropriate clearinghouse practices to

remove former customers’ PII it was no longer required to retain pursuant to regulations.

       169.     Moreover, Defendant had a duty to promptly and adequately notify Plaintiff and

the Class of the Data Breach.

       170.     Defendant had and continues to have a duty to adequately disclose that the PII of

Plaintiff and the Class within Defendant’s possession might have been compromised, how it was

compromised, when it was compromised, and precisely the types of data that were compromised.

Such notice was necessary to allow Plaintiff and the Class to take steps to prevent, mitigate, and

repair any identity theft and the fraudulent use of their PII by third parties.

       171.     Defendant breached its duties, pursuant to the FTC Act, GLBA, and other

applicable standards, and thus was negligent, by failing to use reasonable measures to protect

Class Members’ PII. The specific negligent acts and omissions committed by Defendant include,

but are not limited to, the following:

       a.       failing to adopt, implement, and maintain adequate security measures to safeguard

                Class Members’ PII;

       b.       failing to adequately monitor the security of their networks and systems;

       c.       failing to audit, monitor, or ensure the integrity of its vendor’s data security

                practices;

       d.       allowing unauthorized access to Class Members’ PII;

       e.       failing to detect in a timely manner that Class Members’ PII had been

                compromised;

       f.       failing to remove former customers’ PII it was no longer required to retain pursuant

                to regulations;




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       g.       failing to timely and adequately notify Class Members about the Data Breach’s

                occurrence and scope, so that they could take appropriate steps to mitigate the

                potential for identity theft and other damages; and

       h.       failing to secure its stand-alone personal computers, such as the reception desk

                computers, even after discovery of the data breach.

       172.     Defendant violated Section 5 of the FTC Act and GLBA by failing to use

reasonable measures to protect PII and not complying with applicable industry standards, as

described in detail herein. Defendant’s conduct was particularly unreasonable given the nature

and amount of PII it obtained and stored and the foreseeable consequences of the immense

damages that would result to Plaintiff and the Class.

       173.     Plaintiff and Class Members were within the class of persons the Federal Trade

Commission Act and GLBA were intended to protect and the type of harm that resulted from the

Data Breach was the type of harm these statues were intended to guard against.

       174.     Defendant’s violation of Section 5 of the FTC Act and GLBA constitutes

negligence.

       175.     The FTC has pursued enforcement actions against businesses, which, as a result

of their failure to employ reasonable data security measures and avoid unfair and deceptive

practices, caused the same harm as that suffered by Plaintiff and the Class.

       176.     A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly in light of Defendant’s inadequate security

practices.

       177.     It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ PII would result in injury to Class Members. Further, the breach of security was




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reasonably foreseeable given the known high frequency of cyberattacks and data breaches in the

insurance industry.

       178.    Defendant has full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and the Class could and would suffer if the PII were wrongfully disclosed.

       179.    Plaintiff and the Class were the foreseeable and probable victims of any

inadequate security practices and procedures. Defendant knew or should have known of the

inherent risks in collecting and storing the PII of Plaintiff and the Class, the critical importance

of providing adequate security of that PII, and the necessity for encrypting PII stored on

Defendant’s systems.

       180.    It was therefore foreseeable that the failure to adequately safeguard Class

Members’ PII would result in one or more types of injuries to Class Members.

       181.    Plaintiff and the Class had no ability to protect their PII that was in, and possibly

remains in, Defendant’s possession.

       182.    Defendant was in a position to protect against the harm suffered by Plaintiff and

the Class as a result of the Data Breach.

       183.    Defendant’s duty extended to protecting Plaintiff and the Class from the risk of

foreseeable criminal conduct of third parties, which has been recognized in situations where the

actor’s own conduct or misconduct exposes another to the risk or defeats protections put in place

to guard against the risk, or where the parties are in a special relationship. See Restatement

(Second) of Torts §302B. Numerous courts and legislatures have also recognized the existence

of a specific duty to reasonably safeguard personal information.

       184.    Defendant has admitted that the PII of Plaintiff and the Class was wrongfully lost

and disclosed to unauthorized third persons as a result of the Data Breach.




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          185.   But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff and

the Class, the PII of Plaintiff and the Class would not have been compromised.

          186.   There is a close causal connection between Defendant’s failure to implement

security measures to protect the PII of Plaintiff and the Class and the harm, or risk of imminent

harm, suffered by Plaintiff and the Class. The PII of Plaintiff and the Class was lost and accessed

as the proximate result of Defendant’s failure to exercise reasonable care in safeguarding such

PII by adopting, implementing, and maintaining appropriate security measures.

          187.   As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have suffered and will suffer injury, including but not limited to: (i) Plaintiff experiencing identity

theft in the form of fraudulent charges to his debit card in or about July 2023; (ii) invasion of

privacy; (iii) lost or diminished value of PII; (iv) lost time and opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (v) loss of benefit of the

bargain; and (vi) the continued and certainly increased risk to their PII, which: (a) remains

unencrypted and available for unauthorized third parties to access and abuse; and (b) remains

backed up in Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the PII.

          188.   As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have suffered and will continue to suffer other forms of injury and/or harm, including, but not

limited to, anxiety, emotional distress, loss of privacy, and other economic and non-economic

losses.

          189.   Additionally, as a direct and proximate result of Defendant’s negligence, Plaintiff

and the Class have suffered and will suffer the continued risks of exposure of their PII, which

remain in Defendant’s possession and is subject to further unauthorized disclosures so long as




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Defendant fails to undertake appropriate and adequate measures to protect the PII in its continued

possession.

       190.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       191.    Defendant’s negligent conduct is ongoing, in that it still holds the PII of Plaintiff

and Class Members in an unsafe and insecure manner.

       192.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                           COUNT II
                                       Negligence Per Se
                               (On Behalf of Plaintiff and the Class)

       193.    Plaintiff re-alleges and incorporates by reference all other allegations in the

Complaint as if fully set forth herein.

       194.    Pursuant to the Federal Trade Commission Act, 15 U.S.C. §45, Defendant had a

duty to provide fair and adequate computer systems and data security practices to safeguard

Plaintiff’s and Class Members’ Private Information.

       195.    Defendant’s duty to use reasonable security measures also arose under the GLBA,

under which they were required to protect the security, confidentiality, and integrity of customer

information by developing a comprehensive written information security program that contains

reasonable administrative, technical, and physical safeguards.

       196.    Defendant’s failure to comply with applicable laws and regulations constitutes

negligence per se.




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       197.    Plaintiff and Class Members are within the class of persons that the Federal Trade

Commission Act and GLBA intended to protect and the type of harm that resulted from the Data

Breach was the type of harm that the Federal Trade Commission Act and GLBA intended to guard

against.

       198.    But for Defendant’s wrongful and negligent breach of their duties owed to Plaintiff

and Class Members, Plaintiff and Class Members would not have been injured.

       199.    The injury and harm suffered by Plaintiff and Class Members was the reasonably

foreseeable result of Defendant’s breach of their duties. Defendant knew or should have known

that it was failing to meet its duties and that Defendant’s breach would cause Plaintiff and Class

Members to experience the foreseeable harms associated with the exposure of their Private

Information.

       200.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiff and

Class Members have suffered injury and are entitled to compensatory, consequential, and punitive

damages in an amount to be proven at trial.

                                          COUNT III
                                  Breach Of Implied Contract
                              (On Behalf of Plaintiff and the Class)

       201.    Plaintiff re-alleges and incorporates by reference all other allegations in the

Complaint as if fully set forth herein.

       202.    Plaintiff and Class Members were required to provide their PII to Defendant as a

condition of receiving insurance and/or other services from Defendant.

       203.    Plaintiff and the Class entrusted their PII to Defendant. In so doing, Plaintiff and

the Class entered into implied contracts with Defendant by which Defendant agreed to safeguard

and protect such information, to keep such information secure and confidential, and to timely and




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accurately notify Plaintiff and the Class if their data had been breached and compromised or

stolen.

          204.   In entering into such implied contracts, Plaintiff and Class Members reasonably

believed and expected that Defendant’s data security practices complied with relevant laws and

regulations and were consistent with industry standards.

          205.   Implicit in the agreement between Plaintiff and Class Members and the Defendant

to provide PII, was the latter’s obligation to: (a) use such PII for business purposes only; (b) take

reasonable steps to safeguard that PII; (c) prevent unauthorized disclosures of the PII; (d) provide

Plaintiff and Class Members with prompt and sufficient notice of any and all unauthorized access

and/or theft of their PII; (e) reasonably safeguard and protect the PII of Plaintiff and Class

Members from unauthorized disclosure or uses; and (f) retain the PII only under conditions that

kept such information secure and confidential.

          206.   The mutual understanding and intent of Plaintiff and Class Members on the one

hand, and Defendant, on the other, is demonstrated by their conduct and course of dealing.

          207.   Defendant solicited, offered, and invited Plaintiff and Class Members to provide

their PII as part of Defendant’s regular business practices. Plaintiff and Class Members accepted

Defendant’s offers and provided their PII to Defendant.

          208.   In accepting the PII of Plaintiff and Class Members, Defendant understood and

agreed that it was required to reasonably safeguard the PII from unauthorized access or

disclosure.

          209.   On information and belief, at all relevant times Defendant promulgated, adopted,

and implemented written privacy policies whereby it expressly promised Plaintiff and Class




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Members that it would only disclose PII under certain circumstances, none of which relate to the

Data Breach.

       210.    On information and belief, Defendant further promised to comply with industry

standards and to make sure that Plaintiff’s and Class Members’ PII would remain protected.

       211.    Plaintiff and Class Members paid money and provided their PII to Defendant with

the reasonable belief and expectation that Defendant would use part of its earnings to obtain

adequate data security. Defendant failed to do so.

       212.    Plaintiff and Class Members would not have entrusted their PII to Defendant in

the absence of the implied contract between them and Defendant to keep their information

reasonably secure.

       213.    Plaintiff and Class Members would not have entrusted their PII to Defendant in

the absence of their implied promise to monitor their computer systems and networks to ensure

that it adopted reasonable data security measures.

       214.    Plaintiff and Class Members fully and adequately performed their obligations

under the implied contracts with Defendant.

       215.    Defendant breached the implied contracts it made with Plaintiff and the Class by

failing to safeguard and protect their personal information, by failing to delete the information of

Plaintiff and the Class once the relationship ended, and by failing to provide accurate notice to

them that personal information was compromised as a result of the Data Breach.

       216.    As a direct and proximate result of Defendant’s breach of the implied contracts,

Plaintiff and Class Members sustained damages, as alleged herein, including the loss of the

benefit of the bargain.




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       217.    Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       218.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

                                          COUNT IV
                                     Unjust Enrichment
                              (On Behalf of Plaintiff and the Class)

       219.    Plaintiff re-alleges and incorporates by reference all other allegations in the

Complaint as if fully set forth herein.

       220.    This count is pleaded in the alternative to Plaintiff’s breach of implied contract

claim (Count III) above.

       221.    Plaintiff and Class Members conferred a monetary benefit on Defendant.

Specifically, they paid for services from Defendant and/or its agents and in so doing also provided

Defendant with their PII. In exchange, Plaintiff and Class Members should have received from

Defendant the services that were the subject of the transaction and should have had their PII

protected with adequate data security.

       222.    Defendant knew that Plaintiff and Class Members conferred a benefit upon it and

has accepted and retained that benefit by accepting and retaining the PII entrusted to it. Defendant

profited from Plaintiff’s retained data and used Plaintiff’s and Class Members’ PII for business

purposes.

       223.    Defendant failed to secure Plaintiff’s and Class Members’ PII and, therefore, did

not fully compensate Plaintiff or Class Members for the value that their PII provided.




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       224.    Defendant acquired the PII through inequitable record retention as it failed to

disclose the inadequate data security practices previously alleged.

       225.    If Plaintiff and Class Members had known that Defendant would not use adequate

data security practices, procedures, and protocols to adequately monitor, supervise, and secure

their PII, they would have entrusted their PII at Defendant or obtained services at Defendant.

       226.    Plaintiff and Class Members have no adequate remedy at law.

       227.    Under the circumstances, it would be unjust for Defendant to be permitted to retain

any of the benefits that Plaintiff and Class Members conferred upon it.

       228.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) Plaintiff

experiencing identity theft in the form of fraudulent charges to his debit card in or about July

2023; (ii) invasion of privacy; (iii) lost or diminished value of PII; (iv) lost time and opportunity

costs associated with attempting to mitigate the actual consequences of the Data Breach; (v) loss

of benefit of the bargain; and (vi) the continued and certainly increased risk to their PII, which:

(a) remains unencrypted and available for unauthorized third parties to access and abuse; and (b)

remains backed up in Defendant’s possession and is subject to further unauthorized disclosures

so long as Defendant fails to undertake appropriate and adequate measures to protect the PII.

       229.    Plaintiff and Class Members are entitled to full refunds, restitution, and/or

damages from Defendant and/or an order proportionally disgorging all profits, benefits, and other

compensation obtained by Defendant from its wrongful conduct. This can be accomplished by

establishing a constructive trust from which the Plaintiff and Class Members may seek restitution

or compensation.




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          230.     Plaintiff and Class Members may not have an adequate remedy at law against

Defendant, and accordingly, they plead this claim for unjust enrichment in addition to, or in the

alternative to, other claims pleaded herein.

                                             COUNT V
                 Violations of Hawaii’s Unfair and Deceptive Acts and Practices Law
                                        H.R.S. § 480-2, et seq.
                           (On Behalf of Plaintiff and the Hawaii Subclass)

          231.     Plaintiff re-alleges and incorporates by reference all other allegations in the

Complaint as if fully set forth herein.

          232.     Plaintiff brings this claim individually and on behalf of the Hawaii Subclass (the

“Class” for the purposes of this Count) against Defendant.

          233.     Defendant is a “person” under H.R.S. §480-1 because it is a corporation.

          234.     Plaintiff is an individual and thus a person under H.R.S. §480-2(e)

          235.     H.R.S. §481A-3(a)(2) states that “[i]n construing this section, the courts and the

office of consumer protection shall give due consideration to the rules, regulations, and decisions

of the Federal Trade Commission and the federal courts interpreting section 5(a)(1) of the Federal

Trade Commission Act (15 U.S.C. 45(a)(1)).” H.R.S. §480-2.

          236.     Section 5 of the FTC Act, 15 U.S.C. §45, prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice

by businesses, such as Defendant, of failing to use reasonable measures to protect PII. The FTC

publications and orders described above also form part of the basis of Defendant’s duty in this

regard.

          237.     Defendant’s duty to use reasonable security measures also arose under the GLBA,

under which they were required to protect the security, confidentiality, and integrity of customer




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information by developing a comprehensive written information security program that contains

reasonable administrative, technical, and physical safeguards.

         238.   Defendant failed to properly implement basic data security practices.

         239.   Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to customers’ PII or to comply with applicable industry standards

constitutes an unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. §45.

         240.   Defendant violated Section 5 of the FTC Act and GLBA by failing to use

reasonable measures to protect PII and not complying with applicable industry standards, as

described in detail herein. Defendant’s conduct was particularly unreasonable given the nature

and amount of PII it obtained and stored and the foreseeable consequences of the immense

damages that would result to Plaintiff and the Class.

         241.   Plaintiff and the Class are within the class of persons that the FTC Act and GLBA

intended to protect.

         242.   The harm that occurred as a result of the Data Breach is the type of harm that the

FTC Act and GLBA intended to guard against. The FTC has pursued enforcement actions against

businesses, which, as a result of their failure to employ reasonable data security measures and

avoid unfair and deceptive practices, caused the same harm as that suffered by Plaintiff and the

Class.

         243.   Defendant engaged in unfair acts and practices, under the FTC Act, GLBA, and

other applicable standards by failing to use reasonable measures to protect Class Members’ PII.

The specific negligent acts and omissions committed by Defendant include, but are not limited

to, the following:




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       a.       failing to adopt, implement, and maintain adequate security measures to safeguard

                Class Members’ PII;

       b.       failing to adequately monitor the security of their networks and systems;

       c.       failure to periodically ensure that their email system had plans in place to maintain

                reasonable data security safeguards;

       d.       allowing unauthorized access to Class Members’ PII;

       e.       failing to detect in a timely manner that Class Members’ PII had been

                compromised;

       f.       failing to remove former customers’ PII it was no longer required to retain pursuant

                to regulations;

       g.       failing to timely and adequately notify Class Members about the Data Breach’s

                occurrence and scope, so that they could take appropriate steps to mitigate the

                potential for identity theft and other damages; and

       f.       failing to secure its stand-alone personal computers, such as the reception desk

                computers, even after discovery of the data breach.

       244.     Defendant’s misconduct and/or unfair acts has a detrimental impact on its

insurance competitors. By saving necessary costs that should on data security measures to ensure

its customers’ PII is not disclosed to third parties, Defendant’s misconduct permits Defendant to

spend money on other business-related functions – instead of providing adequate data security to

its customers like Defendant’s competitors. Thus, Defendant’s misconduct and/or unfair acts

negatively affects its competition in the insurance industry because the misconduct results

reduced business expenditures for Defendant, as compared to its competitors that did properly

safeguard their customers’ PII.




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       245.    A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly in light of Defendant’s inadequate security

practices.

       246.    It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ PII would result in injury to Class Members. Further, the breach of security was

reasonably foreseeable given the known high frequency of cyberattacks and data breaches in the

insurance industry.

       247.    At all relevant times, Defendant knew or reasonably should have known that its

data security measures were inadequate.

       248.    Plaintiff and other members of the Hawaii Subclass reasonably and justifiably

relied upon Defendant to fully disclose issues concerning data security and to correct those issues

once they became known to Defendant.

       249.    Plaintiff and members of the Hawaii Subclass reasonably and justifiably relied on

Defendant to adequately safeguard their PII, to encrypt that PII, and to delete or destroy PII, like

Plaintiff’s, that it was no longer required to maintain.

       250.    Plaintiff and Class Members would not have entrusted their PII to Defendant had

they known of Defendant’s inadequate data security practices.

       251.    Moreover, based on the materiality of Defendant’s acts and omissions, reliance on

such conduct as a material reason for the decision to obtain insurance services from Defendant

may be presumed or inferred for Plaintiff and members of Hawaii Subclass.

       252.    Under H.R.S. §480-13, Plaintiff and members of the Hawaii Subclass seek

injunctive relief to prevent Defendant from continuing to engage in the wrongful acts and unfair

and unlawful business practices described herein.          Plaintiff further requests an injunction




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requiring Defendant to implement adequate and reasonable data security practices and to encrypt

data that it maintains and to delete or destroy data that it is no longer required to maintain.

       253.    Plaintiff also seeks actual and treble damages, attorneys’ fees and costs and all

other remedies this Court deems proper pursuant to H.R.S. §480-13.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and Class Members, requests judgment

against Defendant and that the Court grant the following:

       A.      For an Order certifying this action as a class action and appointing Plaintiff and

his counsel to represent the Class, pursuant to Federal Rule of Civil Procedure 23;

       B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and Class Members’

PII, and from refusing to issue prompt, complete and accurate disclosures to Plaintiff and Class

Members;

       C.      For injunctive relief requested by Plaintiff, including, but not limited to, injunctive

and other equitable relief as is necessary to protect the interests of Plaintiff and Class Members,

including but not limited to an order:

               i.      prohibiting Defendant from engaging in the wrongful and unlawful acts

       described herein;

               ii.     requiring Defendant to protect, including through encryption, all data

       collected through the course of their business in accordance with all applicable regulations,

       industry standards, and federal, state or local laws;

               iii.    requiring Defendant to delete, destroy, and purge the personal identifying

       information of Plaintiff and Class Members unless Defendant can provide to the Court




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reasonable justification for the retention and use of such information when weighed against

the privacy interests of Plaintiff and Class Members;

          iv.     requiring Defendant to implement and maintain a comprehensive

Information Security Program designed to protect the confidentiality and integrity of the

PII of Plaintiff and Class Members;

          v.      prohibiting Defendant from maintaining the PII of Plaintiff and Class

Members on a cloud-based database;

          vi.     requiring   Defendant   to   engage   independent    third-party   security

auditors/penetration testers as well as internal security personnel to conduct testing,

including simulated attacks, penetration tests, and audits on Defendant’s systems on a

periodic basis, and ordering Defendant to promptly correct any problems or issues detected

by such third-party security auditors;

          vii.    requiring Defendant to engage independent third-party security auditors

and internal personnel to run automated security monitoring;

          viii.   requiring Defendant to audit, test, and train their security personnel

regarding any new or modified procedures; requiring Defendant to segment data by, among

other things, creating firewalls and access controls so that if one area of Defendant’s

network is compromised, hackers cannot gain access to other portions of Defendant’s

systems;

          ix.     requiring Defendant to conduct regular database scanning and securing

checks;

          x.      requiring Defendant to establish an information security training program

that includes at least annual information security training for all employees, with additional




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training to be provided as appropriate based upon the employees’ respective

responsibilities with handling personal identifying information, as well as protecting the

personal identifying information of Plaintiff and Class Members;

       xi.     requiring Defendant to routinely and continually conduct internal training

and education, and on an annual basis to inform internal security personnel how to identify

and contain a breach when it occurs and what to do in response to a breach;

       xii.    requiring Defendant to implement a system of tests to assess its respective

employees’ knowledge of the education programs discussed in the preceding

subparagraphs, as well as randomly and periodically testing employees’ compliance with

Defendant’s policies, programs, and systems for protecting personal identifying

information;

       xiii.   requiring Defendant to implement, maintain, regularly review, and revise as

necessary a threat management program designed to appropriately monitor Defendant’s

information networks for threats, both internal and external, and assess whether monitoring

tools are appropriately configured, tested, and updated;

       xiv.    requiring Defendant to meaningfully educate all Class Members about the

threats that they face as a result of the loss of their confidential personal identifying

information to third parties, as well as the steps affected individuals must take to protect

himself;

       xv.     requiring Defendant to implement logging and monitoring programs

sufficient to track traffic to and from Defendant’s servers; and

       xvi.    for a period of 10 years, appointing a qualified and independent third party

assessor to conduct a SOC 2 Type 2 attestation on an annual basis to evaluate Defendant’s




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       compliance with the terms of the Court’s final judgment, to provide such report to the Court

       and to counsel for the class, and to report any deficiencies with compliance of the Court’s

       final judgment;

       D.       For an award of actual damages, compensatory damages, statutory damages, and

nominal damages, in an amount to be determined, as allowable by law;

       E.       For an award of punitive damages, as allowable by law;

       F.       For an award of attorneys’ fees and costs, and any other expenses, including expert

witness fees;

       G.       Pre- and post-judgment interest on any amounts awarded; and

       H.       Such other and further relief as this court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury on all triable issues.

DATED: August 15, 2023                         SCOTT+SCOTT ATTORNEYS AT LAW LLP

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